              Case 22-50542                         Doc 22               Filed 11/07/22                      Entered 11/07/22 16:45:22                              Page 1 of 2


B2030 (Form 2030) (12/15)


                                                             United States Bankruptcy Court
                                                                                      District of Connecticut

In re        Genever Holdings Corporation

                                                                                                                            Case No.                 22-50542

Debtor                                                                                                                      Chapter                      11


                                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ..............................................................................................                        TBD

        Prior to the filing of this statement I have received ...................................................................................                         $0.00

        Balance Due .............................................................................................................................................         TBD

2.                $1,738.00                 of the filing fee has been advanced by Neubert, Pepe & Monteith, P.C.

3.      The source of the compensation paid to me was:

        ❑      Debtor                     ❑ Other (specify)                       ✔ N/A
                                                                                  ❑
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                 ❑ Other (specify)
5.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                   Page 1 of 2
          Case 22-50542           Doc 22        Filed 11/07/22           Entered 11/07/22 16:45:22                 Page 2 of 2


B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        11/07/2022                                             /s/ Douglas S. Skalka
                Date                                         Douglas S. Skalka
                                                             Signature of Attorney
                                                                                               Bar Number: ct00616
                                                                                     Neubert, Pepe & Monteith, P.C.
                                                                                                  195 Church Street
                                                                                             New Haven, CT 06510
                                                                                             Phone: (203) 821-2000

                                                                          Neubert, Pepe & Monteith, P.C.
                                                             Name of law firm




                                                                 Page 2 of 2
